EXHIBIT 35
                              Felix et al. vs. City of New York, et al.
                                  Index No.: 16-CV-5845 (AJN)

                                       Expert Witness Report
                                       Grace Telesco, Ph.D.

                                         October 28, 2019
Beldock Levine & Hoffman LLP
99 Park Ave., PH/26th Floor
New York, NY 10016
Attn: Luna Droubi

Dear Ms. Droubi,

Pursuant to your request, I submit my expert report in the case Felix et al. v. City of New York et
al. If I am provided with additional materials, my opinions may be supplemented based on the
receipt of such materials.

   I.      QUALIFICATIONS

My name is Dr. Grace Telesco, and I am a Retired Lieutenant who spent twenty years in the NYPD
and retired at the rank of Special Assignment Lieutenant. During my tenure with the NYPD Police
Academy, I was assigned as the Chairperson/Commanding Officer-Lieutenant by the Chief of
Personnel. From May 1998 to May 2001, I was directly responsible for the supervision,
scheduling, and professional development of fifty (50) police instructors and the development of
the Behavioral Science Curriculum taught to all entry level police recruits, consisting of four tracks
of learning; Effective Communication and Cultural Competence, Ethics and Mental Health, Crisis
Intervention, and Service Role. Major subject areas included Police Response to Mental Illness
and Crisis Intervention.

I possess a Ph.D. in Social Work from Fordham University with a specialization in Mental Health,
a Masters in Criminal Justice from John Jay College of Criminal Justice, and a Bachelor of Science
in Police Science from John Jay College of Criminal Justice. I graduated from the NYC Police
Academy completing entry level training and completed over 100 in-service trainings provided by
the NYPD and other police related trainings, including NOVA Crisis Intervention Training from
the National Organization of Victim Assistance. I am a diplomate in the American Academy of
Experts in Traumatic Stress and a Professor of Criminal Justice at Nova Southeastern University.
From 1985 to 1993, I was assigned as a NYPD Police Academy Social Science
Department/Behavioral Science Department Instructor, Curriculum & Seminar Coordinator and
held the ranks of Police Officer and Sergeant.

During my tenure as Chairperson of the Behavioral Science Department at the New York Police
Academy and as a Seminar Coordinator from the periods of 1985 to 1993, I personally worked on
the lesson plans, EDP workshop, and video content for the lessons related to Police Response to
Mental Illness and Crisis Intervention.
I have served as a Police Expert on Police Handling of Persons with Mental Illness in the capacity
as a Police Lieutenant for the Manhattan District Attorney’s Office for Grand Jury testimony, and
for Corporation Counsel in a Federal Civil Rights trial involving the shooting of an EDP. I have
also been deposed and testified for Corporation Counsel as a consultant/police expert in my
retirement.

Based on my extensive educational background in Mental Health and my direct professional
experience with the NYPD Police Training, as it relates to Police Response to Mental Illness and
Crisis Intervention, I can attest to acceptable police practices, procedures, protocols, safety rules
and standards of care regarding the handling of Emotionally Disturbed Persons (or “EDP’s”, as
they are referred to in the NYPD vernacular). All conclusions and opinions here are based on these
acceptable police practices, procedures, protocols, safety rules and standards of care regarding the
handling of EDPs. I am being compensated at a rate of $175.00 per hour. My C.V. is attached
herein as Exhibit 1.

   II.     THE DATA AND OTHER INFORMATION CONSIDERED IN FORMING
           THE OPINIONS:

First Amended Complaint
City’s Monell Discovery Documents;
       Detective Carter History of Training DEF 12400-12411
       Felix Monell Discovery Responses Document
       Felix Training Materials from 2008 – 2014 DEF 3184-DEF 6022
       Felix Training Materials from 2015 – Present. DEF 9694-12399
       Felix Pls First Set of Monell Discovery Demands
Deposition Transcript of Detective Harold Carter
Deposition Transcript of Detective Vicente Matias
Deposition Transcript of Christina Ibanez
Deposition Transcript of Danielle Steeley
Deposition Transcript of Maritza Bryson
Deposition Transcript of Melanie Wagner
Deposition Transcript of Chief Theresa Tobin
Documents from Defendants re: Investigation
       9th Pct Det Squad File DEF 1 – DEF 758
       GO 15 transcripts/files of Det Matias and Det Carter
       Carter Grand Jury DEF 1421-1467
       Matias Grand Jury DEF 1468 – 1525
       Steeley Grand Jury pp. 158-193
       IAB Callout File 1429986195219 -911 call
       IAB Callout File 1429986236948 10-13
       IAB Callout File 1430011193926801 (Video)
       IAB Callout File 14300226844209 (Video)
       All documents pertaining to Defendants Investigation (including medical records and
       IAB callout files)
       Firearms Discharge Review Board Findings
Deft Reply MOL
Judge’s Order on MTD
OIG Report
Empirical Academic Literature on Police Use of Force and Handling of People with Mental
Illness:

       Abby L. Mulay, Beth Vayshenker, Michelle L. West & Elspeth Kelly (2016) Crisis
       Intervention Training and Implicit Stigma Toward Mental Illness: Reducing Bias Among
       Criminal Justice Personnel, International Journal of Forensic Mental Health, 15:4, 369-
       381, DOI: 10.1080/14999013.2016.1208308

       Augustin, D., & Fagan, T. J. (2011). Roles for mental health professionals in critical law
       enforcement incidents: An overview. Psychological Services, 8(3), 166.

       Compton, M. T., Neubert, B. N. D., Broussard, B., McGriff, J. A., Morgan, R., & Oliva,
       J. R. (2011). Use of force preferences and perceived effectiveness of actions among
       Crisis Intervention Team (CIT) police officers and non-CIT officers in an escalating
       psychiatric crisis involving a subject with schizophrenia. Schizophrenia Bulletin, 37(4),
       737–745.

       Dupont, R., Cochran, S., & Pillsbury, S. (2007). Crisis Intervention Team core elements.
       The University of Memphis, School of Urban Affairs and Public Policy, Department of
       Criminology and Criminal Justice, CIT Center.

       Hanafi, S., Bahora, M., Demir, B. N., & Compton, M. T. (2008). Incorporating crisis
       intervention team (CIT) knowledge and skills into the daily work of police officers: A
       focus group study. Community Mental Health Journal, 44(6), 427–432.

       PERF. (2012). An integrated approach to de-escalation and minimizing use of
       force(Critical Issues in Policing). Washington, DC: Police Executive Research Forum.

       PERF. (2015). Re-engineering training on police use of force (Critical Issues in Policing).
       Police Executive Research Forum

       President’s Task Force on 21st Century Policing. (2015). Final Report of the President’s
       Task Force on 21st Century Policing. Washington, DC: Office of Community Oriented
       Policing Services.

       Sanow, E. (2006). Crisis Intervention Team. Law and Order, 54(12).

       Steadman, H., Deane, M. W., & Borum, R. (2000). Comparing outcomes of major
       models of police responses to mental health emergencies. Psychiatric Services, 51, 645–
       649.
          Teller, J. L., Munetz, M. R., Gil, K. M., & Ritter, C. (2006). Crisis intervention team
          training for police officers responding to mental disturbance calls. Psychiatric Services,
          57(2), 232–237.

          Young, A. T., & Brumley, N. (2009). On-scene mental health services: Establishing a
          crisis team. FBI Law Enforcement Bulletin, 78(9), 6–11.

   III.      NYPD TRAINING ON HANDLING MENTALLY ILL PERSONS

According to the training material submitted by the City of New York, “on average NYPD patrol
officers are dispatched to reports of EDPs almost 200 times per day. Officers encounter individuals
in emotional distress while patrolling their posts, or when they are told about such individuals
by people in their precinct.” (See Policing the Emotionally Disturbed at DEF5234.) Given the
frequency with which officers in the NYPD encounter individuals with mental health issues, it is
vital that a police force the size of the NYPD adequate train officers to deal with individuals who
have such problems.

The current NYPD policy on the treatment of EDPs can be found in Patrol Guide § 216-05. The
one in existence at the time of the incident involving Mr. Felix was Patrol Guide § 221-13. As the
City itself has conceded, these policies have not changed in any substantive way for over 30 years.
(See generally Tobin Dep.) In these policies, the NYPD provides that the officers are not to escalate
situations; that they should attempt to isolate and contain the individual and to create a “zone of
safety”; and they should reach out to their supervisors for assistance in handling any situation
where the person of interest might be in the midst of a mental health crisis. These policies as they
are written are, in my opinion, valid and adequate. However, these policies are only effective if
the NYPD maintains a robust training regimen to ensure that officers, not just in the Police
Academy, but as they go through their careers, are aware of the departmental policies regarding
the treatment of individuals who may be in mental health crisis. As the history of the officers in
this case illustrate quite graphically, the NYPD utterly fails to train its officers post-Academy in
how to adequately handle persons with emotional or mental health issues.

Trainings can be broken down into trainings for new officers and trainings for existing officers. In
my opinion, in the case of the NYPD, both have proven to be inadequate.

   A. Trainings of New Officers

The training materials that were in existence in 2015 for new officers remained wholly inadequate.
The defendant City of New York produced training materials related to EDPs for the period 2008-
2014. During this period there were no significant revisions or edits to these training materials.
During that period, there was no Crisis Intervention Unit Training (“CIT”), which was a serious
deficiency in the training program. Crisis Intervention Training (CIT), which teams police with
mental health professionals, advocates, and academics to develop comprehensive plans for
addressing problems involving mentally ill community members has evidence based results
(Dupont, Cochran, & Pillsbury, 2007; PERF, 2012).
Based upon my expertise, knowledge, and direct experience (as a Police Academy- Social
Science/Behavioral Science instructor, seminar coordinator, squad supervisor and then
commanding officer/chairperson for periods spanning 1985- 2001) the content for the training of
police recruits on the handling of people with mental illness for the period of 2008-2014 has
remained consistently below standards with minimal redevelopment. 1

    B. Trainings for Existing Officers

According to the materials I received from the NYPD, prior to 2015, officers who have already
graduated from the Police Academy, other than sergeants, would not receive any meaningful new
or updated training on how to handle EDPs. This includes detectives, who are not retrained on
any EDP related issues following their promotion to detective.

As indicated by the Office of the Inspector General, “Until the summer of 2015, NYPD had one
basic form of training for police officers on how to handle encounters with people in mental crisis.
Since 2002, both recruits and promoted officers within the Department received a one-day training
led by instructors from John Jay College of Criminal Justice. The earlier form of training involved
a short, basic lecture on mental illnesses in the morning and then had a few of the officers engage
in a total of four role-playing scenarios in the afternoon, involving schizophrenia, manic-
depression, and a suicidal officer.” Putting Training Into Practice: A Review of NYPD’s Approach
to Handling Interactions with People in Mental Crisis (Jan. 2017), at 10.

Given the number of EDPs that each officer on the force is required to interact with, this training
was inadequate and well below acceptable national standards.


    IV.      CASE FACTS:

My opinions in this case are based on the following set of facts which I have gleaned from
reviewing the materials referenced above.

On 04/25/2015 at 14:14 hours, Det. Matias and Det. Carter, two police Detectives with over 30
years on the force, responded to the home of Mr. David Felix, a private residence that houses
individuals with mental illness, at 538 East 6th Street New York, NY 10013. The detectives were
assigned the task of arresting Mr. Felix for an alleged violent robbery he had allegedly committed
a few days earlier. Both detectives were aware that in the course of this alleged robbery, Mr. Felix
was accused of violently attacking the individual he was robbing. The detectives were also aware
that Mr. Felix knew the victim and that they had maintained a friendship for some period of time
prior to the violent robbery.



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  There was a period 1998-2001 when a major reconstructive revision was in progress. However, toward the later part
of 2001 (Post 9/11) the Director of Training at the time dismantled the reconstructed curriculum, eliminating the
Behavioral Science curriculum and department, merging all three separate academic curricula into one generic one.
Much of the strong content relative to Crisis Intervention (including the Memphis Model of CIT Training) and Police
Response to People with Mental Illness training was eliminated or watered down.
Upon arrival at this location, the detectives immediately became aware that the facility was a
residential facility for individuals with mental health issues. The Detectives showed Employee
Resident Counselor Danielle Steeley a document with Mr. Felix’s photograph. Ms. Steeley
believed that document to be a valid warrant. She also, according to her Grand Jury testimony,
advised the Detectives that David Felix was a resident of this mental health facility, had been
diagnosed with paranoid schizophrenia, and was on medication for his mental illness. Carter
testified at the Grand Jury and at deposition that he remarked to his partner “Oh Shit” upon learning
this information about Mr. Felix. Thus, prior to any interaction with Mr. Felix, both detectives
were aware of Mr. Felix’s violent past and that he had mental health issues. Despite this
knowledge, and contrary to what a reasonably prudent police officer should have done, the
detectives decided to take Mr. Felix into custody, although at that point they did not even know
whether he was actually in his apartment.

Ms. Steeley escorted the detectives to Mr. Felix’s apartment, which was apartment 6C on the sixth
floor of the residence. Notwithstanding not obtaining a response, and with no reasonable belief
that Mr. Felix was inside, the detectives entered the apartment.

Upon entering Mr. Felix’s apartment, Det. Matias and Det. Carter observed someone they believed
to be Mr. Felix go out the window and run down a fire escape. Det. Matias and Det. Carter
retreated out of the apartment and down the inside stairs and confronted Mr. Felix in front of the
elevator on the first floor. A struggle ensued upon confrontation which took the detectives and
Mr. Felix to the front door of the building and the hallway in front of that door. At some point,
Det. Carter stepped back from Mr. Felix, drew his weapon, and fired his Glock 26 striking Mr.
Felix once in the right chest area. Detective Carte testified: "I discharged a round firing center
mass". (Carter Grand Jury Testimony at 493.) This shooting occurred in the hallway leading to
the front door of the building. When he was shot, Mr. Felix had his back to the front door with his
hands in the air and nothing in his hands. When he shot Mr. Felix, Det. Carter was facing the front
door of the building and Mr. Felix stood between him and the front door.

There was a witness to this shooting. Melanie Wagner, a civilian who happened to be passing by
the building at the time of the shooting, witnessed the shooting through the front glass door who
confirms that when he was shot Mr. Felix had his hands up, with his back to the front door and
while he was facing Detective Carter. She, stated: "The man in the white, long­sleeved T-shirt
(his back) closest to me had his hands up at this point (the second man had a gun pointing my
way)". (Wagner 04/25/15 Statement.) No other neutral or independent witness observed this
shooting other than Ms. Wagner.

David Felix, a 24 year old, African-American male was brought in by ambulance and treated prior
to arrival with CPR by EMS. Mr. Felix arrived at Mount Sinai Beth Israel Emergency Department
after sustaining a single gunshot wound in the right chest and was pronounced dead at 14:38 on
April 25, 2015.

   V.      OPINION TO BE RENDERED REGARDING THE DAVID FELIX MATTER:

Based on my extensive educational background in Mental Health and my direct professional
experience with the NYPD Police Training as it relates to Police Response to Mental Illness and
Crisis Intervention and my understanding of national standards, I can attest to acceptable police
practices, procedures, protocols, safety rules and standards of care regarding the handling of EDPs
(Emotionally Disturbed Persons as they are referred to in the NYPD vernacular) in the NYPD.
Based on all these factors, including a consideration of the facts of this case, it is my professional
opinion that the NYPD failed to adequately and appropriately train members of the force for
handling EDPs.

According to Det. Carter’s own testimony before the Grand Jury and corroborated by Danielle
Steeley’s Grand Jury testimony, Det. Matias and Det. Carter were aware that David Felix lived in
a residence for mentally ill persons, that he was diagnosed as a paranoid schizophrenic, and that
he was taking medication for his mental illness. (Carter Dep. at 68:16-25; Steeley Grand Jury
Testimony at 164:23-165:6.)

Det. Carter testified in his deposition that he was aware before he encountered Mr. Felix that he
resided at the “Bridge” a residential facility specifically for people with mental illness, had a
diagnosis of paranoid schizophrenia, was taking medication for mental illness, and had a history
of violence (i.e. I-Card allegations of throwing his girlfriend’s head into a wall). (See, e.g., Carter
Dep. at 68.) Det. Carter affirmed that he was aware of all of this prior to confronting David Felix
on April 25th.

Det. Carter’s testimony further reveals his awareness of department policy PG 216-5 “Policing the
Emotionally Disturbed,” ensuring that an ambulance and a Patrol Supervisor are responding.
(Carter Dep. at 133-134.) Dets. Carter and Matias failed to take appropriate action consistent with
the handling of a person with mental illness based upon department policy and training. According
to Det. Carter’s deposition, he received training in 1994 as a police recruit and then regarding
whether or not he received training after leaving the academy he stated “We have a lot of, you
know, training”. There was a failure on the part of both Detectives to effectively apply whatever
minimal training on “EDPs” was received, specifically to recognize that David Felix was a
potential EDP and to immediately request a patrol supervisor and ambulance. Further Detective
Carter not only failed to ISOLATE and CONTAIN David Felix but escalated the incident, all
contrary to NYPD policy, resulting in the tragic death of a person with mental illness. The Training
material (supplied by the City of NY) states:

       “On occasion, EDP’s come to police attention because their actions are criminal, and result
       in injury to people or damage to property. When this happens and it is clear that a person
       who has committed a crime is an EDP, he or she will be taken to a mental health facility.
       When such a person is cleared for release by the mental health professionals, he or she
       should be arrested, charges with the crimes involved, and taken to court for criminal
       proceedings. Whenever a person who is about to be arrested is acting irrationally or
       violently resists arrest, the Patrol Guide procedure to Mentally Ill or Emotionally Disturbed
       Persons will be instituted (Patrol Guide: 216-05; Patrol Guide 208-06).”

(See DEF 4531 at 5.)

Moreover, at the time they confronted Mr. Felix in the manner that they did, no exigent or
emergency circumstance existed that would have justified the detectives to take the action they
did. Indeed, prior to gaining entrance into Mr. Felix’s apartment, the detectives didn’t even know
whether Mr. Felix was in residence. Detective Carter’s escalation and the decision to take David
Felix into custody demonstrates a lack of recognition that he was potentially encountering a person
with a mental illness who had recently been engaged in violent felonious conduct. Their failure to
back off and call their supervisor for guidance and potentially assistance from additional police
officers, is a reflection of poor training and lack of reinforcement training through “in service
training and scenario based training” that helps to bridge the gap between theory and practice. This
opinion was further supported by an NYPD report authored by Captain James Fulton, Executive
Officer of the Firearms and Tactics section, who indicated that the detectives “would have been
prudent if they requested additional backup personnel, due to the violent criminal past and mental
history of the perpetrator, prior to their interaction.” (See Final Report for DFDRBT # 15-026 in
the Confines of Ninth Precinct, Patrol Borough Manhattan South (May 4, 2017), DEF2255-
DEF2261 at DEF2260.) This is also reflected in the final recommendation from the Chief of the
Department to the Police Commissioner in the Final Summary Report of Firearms Discharge
Review Board Case # 2015-26, in which the Chief of the Department reiterated, “[i]n reviewing
the tactics employed by the detectives it was determined that the detectives would have been
prudent if they requested additional backup personnel, due to the violent criminal past and mental
history of the perpetrator, prior to their interaction. (Final Summary Report of Firearms Discharge
Review Board Case # 2015-26 dated August 2, 2017, DEF2011-DEF2016, at DEF2015). The
Chief recommended retraining.

   VI.      THE NECESSITY OF ADEQUATE CIT TRAINING:

The President’s Task Force on 21st Century Policing (2015) and the 2017 National Consensus
Policy on Use of Force (a collaborative effort among 11 of the most significant law enforcement
leadership and labor organizations in the United States (including the International Association of
Chiefs of Police) define de-escalation as follows:

         “Taking an action or communicating verbally or non-verbally during a potential force
         encounter in an attempt to stabilize the situation and reduce the immediacy of the threat so
         that more time, options, and resources can be called upon to resolve the situation without
         the use of force or with a reduction in the force necessary. De-escalation may include the
         use of such techniques as command presence, advisements, warnings, verbal persuasion
         and tactical repositioning”

The National Consensus Policy reflects the best thinking of all consensus organizations and is
intended to serve as a template for law enforcement agencies to compare and enhance their existing
policies. Generally, these organizations and others have argued that police use of force will
decrease in frequency if police training more comprehensively covers and emphasizes de-
escalation tactics.

Police frequently come into contact with mentally ill persons, who present special problems that
can sometimes lead to confusion, conflict, and violent confrontation (Augustin & Fagan, 2011).
CIT training teaches police officers communication and resolution skills to help them successfully
interact with mentally ill individuals in ways that reduce tension, achieve mutual understanding,
and reduce negative outcomes (Sanow, 2006).

Research suggests this form of training is successful in reducing use of force (Abby et al., 2016;
Compton et al., 2011), putting individuals with mental illness at ease, reducing risk of injury, and
reducing unpredictability (Hanafi, Bahora, Demir, & Compton, 2008).

CIT is also associated with decreased arrest rates and increased referrals (Steadman, Deane, &
Borum, 2000). Young and Brumley (2009) found officers who received CIT training were more
satisfied with their perceived ability to manage crisis situations.

Teller and colleagues (2006) found CIT training significantly increases the chances that a police-
involved person with mental illness will gain access to treatment. The training is also associated
with an increase in the number of calls stating the citizen may have a mental illness and an increase
in the number of transports of mentally ill persons to an emergency treatment facility.

Without robust de-escalation training, like CIT Training, unnecessary uses of coercive and deadly
force against people with mental illness will continue, and it will continue to be ruled that the
officers were justified in their decisions.

In my opinion, the NYPD has failed for over 20 years to adequately train officers in the most basic
treatment of EDPs.

   VII.    OPINION REGARDING INEFFECTIVE TRAINING OF NYPD OFFICERS:

The NYPD has failed for over 30 years to adequately train its officers, both recruits and officers,
in appropriately handling EDPs.

By initially failing to institute any Crisis Intervention Training program into the curriculum, and
failing to train officers in any manner, let alone a sufficient manner, the NYPD has repeatedly
demonstrated a failure to train officers on how to adequately respond to emotionally disturbed
persons (“EDPs”).

Using the instant case as an example, Detectives Matias and Carter both testified that they had not
been trained in how to respond to an EDP since their initial training in the Academy, over 20 years
prior to their interaction with Mr. Felix. (See Course Transcript of Defendant Officers, DEF12400-
12411.)

The number of 911 EDP calls increased by more than half from 2009 to 2016, reaching nearly
180,000 in 2018.

In 2015, City Hall promised “crisis intervention training” for all NYPD officers to help them de-
escalate interactions with the mentally ill. Today, just 11,970 of the NYPD’s 36,753 uniformed
cops have been trained — and some may never be.
In most of the 14 deaths recorded in the last three years (including David Felix), NYPD officers
on the scene were trained under a stale 30 year old curriculum (with the exception of a short span
of time from 1998-2001 when the training was under reconstruction and redevelopment and then
again in 2002 when the curriculum was collapsed into one document).

The list of casualties as a result of the stale and superficial NYPD training curriculum is well
documented in the deaths of Luis Baez (1979), Eleanor Bumpers (1984), Alfred Sanders (1987)
Kevin Cerbelli (1998), and many more.

It is my opinion that New York City’s policies with respect to training officers on treatment of
EDPs is woefully deficient and has been woefully deficient since at least 2008 and continuing to
the present. The City of New York has had years of knowledge of these deficiencies including, but
not limited to, repeated reports that thoroughly document these deficiencies. This is most recently
evident in the 2017 report issued by the Office of the Inspector General for the NYPD, which
found “several fundamental programmatic and training flaws in NYPD’s CIT initiative.” The
Report notes that no CIT Training Program existed prior to the summer of 2015. In fact, it provides
that, since at least 2002, the only training for recruits and promoted officers was a “one-day training
led by instructors from John Jay College of Criminal Justice.” The Report goes on to describe a
training involving “a short, basic lecture on mental illnesses in the morning and then had a few of
the officers engage in a total of four role-playing scenarios in the afternoon, involving
schizophrenia, manic-depression, and a suicidal officer. The officers did not have the opportunity
to interact with anyone living with mental illness, nor did they receive any evaluation or testing
after the training was complete. Instead, routine training for patrol officers essentially amounted
to an introduction to the basics of mental illnesses and the need for officers to understand the often
difficult nature of their interactions with people who might be in the midst of a mental crisis.”
Putting Training Into Practice: A Review of NYPD’s Approach to Handling Interactions with
People in Mental Crisis (Jan. 2017), at 10.

Significantly, Chief Tobin, a Rule 30(b)(6) witness for the City of New York in this case, testified
that detectives did not receive any follow-up training on how to deal with persons suspected of
being EDPs upon earning their shields, which means that the only substantive training that
Detectives Carter and Matias received prior to this incident was decades old.

In my opinion, David Felix would have been alive and treated for his schizophrenic symptoms, if
the Detectives involved in this case had received the appropriate level of training as should be
expected of one of the largest police agencies in the country. Regrettably, they did not.

   VIII. SUMMARY ANALYSIS

Detective Carter failed to comprehend that David Felix was a violent person, having just been
accused of a violent robbery, who had potentially explosive mental health issues, Despite being
informed by the staff of the “Bridge”, a residential facility housing mentally ill persons, that David
Felix was in fact schizophrenic and being treated with medication, the Detectives decided to gain
entrance to Mr. Felix’s apartment in an attempt to take him into custody. Based upon the review
of the Academy curriculum provided by the Defendant City of New York, my direct knowledge
of the Academy curriculum spanning three decades, the testimony of all witnesses (particularly
Det. Carter and Danielle Steeley), the Academy training received by Dets. Carter and Matias
lacked in substance to be able to ultimately achieve an effective outcome. Isolation and
containment of David Felix was neither attempted nor achieved. The patrol supervisor and
ambulance were never called until David Felix was laying in the vestibule bleeding after being
shot from point blank range by Det. Carter.

Proper training of both of these Detectives reinforcing how to recognize and achieve effective
intervention strategies when encountering an alleged violent felon with a documented mental
illness, would have been the accepted standard of care under these circumstances and would have
likely led to a much more humane outcome in this case. This, in my opinion, is a reflection of
superficial training and lack of reinforcement through ongoing scenario based training that helps
to bridge the gap between theory and practice. As a further indication of the NYPD’s failure to
adequately embrace an effective policy and practice for dealing with EDPs, in 2015, the NYPD
incorporated CIT into a newly developed curriculum, however it is clear, based on the 2017 Report
by the NYPD’s Inspector General, that the NYPD has not embraced the need for effective training
of officers. It is disappointing and egregious that the oldest and largest police agency in the
country, operating for 174 years, is still superficially training their police to effectively handle
people with mental illness. David Felix and the at least 14 other people with mental illness who
needlessly lost their lives in the last three years deserved more from those entrusted with their
care and protection. The training of NYPD police in the area of mental illness is not a new
discussion and has been in need of repair since 1979.


 Respectfully submitted,

Grace Telesco, Ph.D., M.A., A.A.E.T.S.
EXHIBIT 1
Dr. Grace A. Telesco                                                   C.V.
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917-579-3750 gt243@nova.edu

 ______________________________________________________________________________
 EDUCATION
 ______________________________________________________________________________

 FORDHAM UNIVERSITY
 Graduate School of Social Service
 Social Work
 Ph.D.
 2001

 JOHN JAY COLLEGE OF CRIMINAL JUSTICE
 Master of Arts
 Criminal Justice
 1991

 Bachelor of Science
 Police Science
 1988
 _________________________________________________________________
 NOVA SOUTHEASTERN UNIVERSITY
 FISCHLER COLLEGE OF EDUCATION, SCHOOL OF CRIMINAL JUSTICE
 DOCTORAL, MASTERS AND UNDERGRADUATE PROGRAM
 ASSISTANT PROFESSOR
 2010 - PRESENT

SOCIODRAMA COMMUNITY INITIATIVE & SOCIODRAMA CLUB ADVISOR
2017- PRESENT

 CRIMINAL JUSTICE PROFESSIONAL EXPERIENCE

 NEW YORK CITY POLICE DEPARMENT
 JANUARY 1983 - JANUARY 2003
 POLICE OFFICER, SERGEANT, LIEUTENANT, LIEUTENANT SPECIAL ASSIGNMENT

 PATROL OFFICER/SERGEANT - BROOKLYN, NEW YORK- HOUSING DEVELOPMENTS
 INSTRUCTOR & SUPERVISOR NYPD POLICE ACADEMY
 COMMANDING OFFICER, RECRUITMENT SECTION
 COMMANDING OFFICER, DEPARTMENT CHAIR, BEHAVIORAL SCIENCE -NYPD POLICE ACADEMY
 COMMANDING OFFICER, COMMUNITY AFFAIRS DIVISION
 PROGRAM DIRECTOR, OFFICE OF THE MAYOR OF THE CITY OF NEW YORK. SEPT 11TH
 RESPONSE/RECOVERY EFFORTS.




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Dr. Grace A. Telesco                                          C.V.
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 __________________________________________________________
 Other ACADEMIC EXPERIENCE

WALDEN UNIVERSITY
CRIMINAL JUSTICE PROGRAM ONLINE
DOCTORAL/GRADUATE PROGRAM
CONTRIBUTING FACULTY
2017- PRESENT

 BARRY UNIVERSITY
 SCHOOL OF SOCIAL W ORK, DEPARTMENT OF SOCIOLOGY
 GRADUATE AND UNDERGRADUATE PROGRAMS
 Adjunct Assistant Professor
 2005-2016

 MIAMI DADE COLLEGE
 SCHOOL OF JUSTICE- B.A.S. PUBLIC SAFETY MANAGEMENT
 Assistant Professor
 2007 – July 2010

 EAST STROUDSBURG UNIVERSITY OF PENNSYLVANIA
 DEPARTMENT OF SOCIOLOGY, CRIMINAL JUSTICE, AND SOCIAL WORK
 Assistant Professor
 2002 to 2005

 FORDHAM UNIVERSITY
 GRADUATE SCHOOL OF SOCIAL SERVICE
 Adjunct Assistant Professor
 2001 to 2004

 JOHN JAY COLLEGE OF CRIMINAL JUSTICE
 SPEECH, THEATER AND MEDIA SERVICES DEPARTMENT
 Adjunct Assistant Professor
 1991 To 2003




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 Curriculum Subject Matter Expert

 Police, Policing, Police Administration

 Mental Health, Substance Abuse & Criminal Justice

 Research Design & Methods

 Criminal Justice Issues & Administration

 Criminology & Deviance



 PROFESSIONAL EXPERIENCE
 ______________________________________________________________________________
 NEW YORK CITY POLICE DEPARMENT
 CITY OF NEW YORK, MAYOR’S COMMUNITY ASSISTANCE UNIT
 Interagency Emergency Mental Health Coordinator
 Lieutenant Special Assignment
 September 11, 2001 to January, 2002

 Worked directly for Rudolph Guilliiani, Mayor City of New York and responsible for the
 interagency coordination and delivery of mental health services for the families of the victims of
 the World Trade Center attack at the Family Assistance Center at Pier 94. Provided crisis
 intervention and grief counseling to the families of the victims and coordinated a pro-active
 mental health response that included services from Red Cross mental health practitioners, the
 New York City Department of Mental Health, Spiritual Care providers, Pet Therapy Dogs, and
 members from the Oklahoma City Memorial.

 NEW YORK CITY POLICE DEPARMENT
 Lieutenant Special Assignment
 January, 2002 – January 2003
 Provided Stress Management Seminars for all First Responders in NYPD.

 U.S. Dept of Health & Human Services
 Substance Abuse and Mental Health Service Administration (S.A.M.H.S.A.)
 DTAC (Disaster Technical Assistance Response) Team Deployment
 New Orleans, Louisiana
 September 2005
 Provide assessment of mental health services to State Office of Mental Health Commissioner,
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 Center for Disease Control, and Surgeon General’s Office, New Orleans Police Department
 Psychological Services Unit. Conduct CISD for social work staff at Louisiana State University
 and Louisiana State Office of Mental Health. Provided technical assistance and consultation to
 Disaster Coordinator Louisiana State Office of Mental Health in development of Family
 Assistance Center.

 NEW YORK CITY POLICE DEPARMENT
 COMMUNITY AFFAIRS DIVISION
 Lieutenant Special Assignment
 November, 2001 to May, 2002

 Provided ongoing consultation to New York City Police Department's Early Intervention Unit and
 Personnel Bureau on mental health issues relative to post September 11th critical incident
 stress and trauma. Conduct staff development seminars and stress management retreats for
 Early Intervention Unit staff and high risk responders. Developed quantitative measurement
 instrument to assess variables of post traumatic stress, depression, anxiety, alcohol use, and
 coping strategies in police officers post September 11th.

 OTHER PRIOR PROFESSIONAL AND LAW ENFORCEMENT EXPERIENCE
 NEW YORK CITY POLICE DEPARMENT
 COMPSTAT MANAGER
 Lieutenant
 May, 2001 to May, 2002

 Responsible for the development and oversight of a premier quantitative research
 initiative and assessment project to examine levels of community satisfaction relating to
 the delivery of police service.

 Responsible for; the development of community relations indicators to longitudinally measure
 police-community relations, data collection and analysis, including the analysis of a
 neighborhood satisfaction survey, and various analysis strategies to identify police-community
 problematic trends in each precinct and develop programs/policies to address such
 problem areas. Develop, design, implement, and evaluate innovative and novel programs,
 policies, and initiatives to enhance police/community relations, based on data analysis.
 Conduct ongoing literature reviews on national and international police-community issues.

 NEW YORK CITY POLICE DEPARMENT
 NEW YORK CITY POLICE ACADEMY
 BEHAVIORAL SCIENCE DEPARTMENT

 Chairperson/Commanding Officer
 Lieutenant
 May, 1998 to May, 2001

 Responsible for the supervision, scheduling, and professional development of fifty (50) police
 instructors and the development of the Behavioral Science Curriculum taught to all entry level
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 police recruits, consisting of four tracks of learning; Effective Communication and Cultural
 Competence, Ethics and Mental Health, Crisis Intervention, and Service Role. Responsible for
 the development and implementation of all aspects of training in the Behavioral Sciences,
 including methodology, curriculum writing, evaluation and research.


 NEW YORK CITY POLICE DEPARMENT
 RECRUITMENT SECTION
 Lieutenant/Commanding Officer August, 1996 to May, 1998
 Responsible for the management of staff, implementation of recruitment strategies &
 policies specifically targeting women candidates and people from the lesbian, gay,
 bisexual and transgender communities, and those from diverse racial and ethnic populations,
 coordination and development of recruitment advertising campaigns through the solicitation of
 funds from major donors. Responsible for two major recruitment campaigns, successfully
 recruiting over 50,000 interested applicants from diverse populations.


 NEW YORK CITY POLICE DEPARMENT
 DEPUTY COMMISSIONER OF TRAINING
 OFFICE OF WOMEN'S PROGRAMS & POLICIES- Commanding Officer- 1993 To 1996

 Responsible for the coordination and development of 4 Women in Policing Conferences,
 facilitated the creation of an action plan on women's concerns, responsible for the inventory and
 analysis of historical and statistical data

 NEW YORK CITY POLICE ACADEMY BEHAVIORAL SCIENCE DEPARTMENT
 Instructor
 Curriculum & Seminar Coordinator
 1985 To 1993

 Conducted and created training in the Social Science curriculum for recruit officers. Curriculum
 included issues of crisis intervention, victimology, domestic violence, sexual assault, pedophilia,
 interacting with the elderly as crime victims, handling emotionally disturbed persons.


 OTHER PROFESSIONAL AND LAW ENFORCEMENT EXPERIENCE
 ______________________________________________________________________________________

 Expert Witness, Training of NYPD Police Officers in the Handling of People with Mental Illness CITY
 OF NEW YORK, CORPORATION COUNSEL.

 2019 Expert Witness Police Response to Mental Illness. 3 Active Cases


 Beyond Good and Evil
 Motion Picture (120 minutes)
 Director, Screenwriter
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 With a plot merging alcohol abuse, a stressed police force and a murder mystery, the
 feature film Beyond Good and Evil became much more than the police training video its
 creators set out to make. - Sun Sentinel: June 29, 2008 By Julie Landry

http://articles.sun-sentinel.com/2008-06-29/community/0806260567_1_police-training-police-officer-law-enforcement


 OTHER TRAINING EXPERIENCE

 Expert Witness on Mental Health and Policing
 Consultant/ Police Trainer                                                                    2005-PRESENT

 WOLFBEAR INSTITUTE
 Master Trainer
 www.wolfbearinstitute.org

 Shepherd’s Bridge Homeless Outreach
 (Davie, Florida)                                                                     2011

 Sunserve (Ft Lauderdale)                                                             2010

 Women in Distress                                                                    2006 - 2009
 Sociodrama Program

 Hospice Care of SouthEast Florida                                                    2005 - 2006
 Organizational Development Retreat

 Camp Coral Bereavement Program                                                       2006

 Sunshine Cathedral                                                                   2005
 Buddy Program Advanced Sociodrama Training

 The Good Dog Foundation                                                     September 2005 & 2004
 Effective Communication, Crisis Intervention &
 Disaster Response Training


 Retreat for Peer Educators                                            Sept. 16-17, 2004
 Women’s Resources, East Stroudsburg, Pa.
 2 day retreat- training of 25 participants in the use of socio drama to educate peers
 about sexual and dating violence.


 NASW-PA Chapter Annual Conference 2004:                        March 18-20, 2004
 New Routes to Social Work Success
 A 6 hour Interactive Socio-Drama Training/Workshop for Social Workers
 Highly charged practical workshop demonstrating how socio-drama can be used in the
                                                         6
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 education and training of social workers about topics of oppression.

 Third Annual Philadelphia Trans-Health Conference             March 12-13, 2004
 Healthy Bodies, Healthy Lives, Healthy Community
 Workshop- In My Shoes: Using Socio-drama as a Tool to Raise Consciousness about
 Homophobia, Trans-phobia, and Gender Conformity.


 RESEARCH EXPERIENCE
 ______________________________________________________________________________
 2011- Present NOVA Southeastern University Criminal Justice Institute: Chair/Member
 Student Dissertation Committee

 2002 – Present Professor of Research at the undergraduate, graduate and doctoral level

 2002 - 2004 Principle Investigator of a study at Fordham University examining the
 correlation and impact of exposure working with families of the victims of the World
 Trade Center Attack had on police officer’s psychological well being. The investigation
 also exploredr levels of post traumatic stress, anxiety, depression, and coping
 strategies.

 2003 – 2004 Assisted in the data collection of an opinion poll conducted in Monroe
 County,
 Pennsylvania on Issues Important in Death Penalty Decision Making.

 2001 – 2002 Research Project Manager of New York City Police Department (NYPD)
 COMP STAT- Community – Police Relations Survey measuring effectives of police
 community relations in the NYPD through citizen/community focus groups and quantitative
 indicators
 1998- 2001 Chairperson of the New York City Police Department (NYPD) Behavioral
 Science Department at the NYC Police Academy- responsible for ongoing assessment
 and quality assurance surveys

 1997- 1998 Principal Investigator of New York City Police Department (NYPD) Police
 Candidate Satisfaction Survey, an opinion poll measuring police candidate satisfaction with
 the process of screening and hiring candidates for the NYPD utilizing focus groups and
 quantitative measures

 1996 – 1998 Director of the New York City Police Department (NYPD) Recruitment
 Section – responsible for massive recruitment campaigns of 25,000 applicants

 1995 -1996 Principal Investigator for the New York City Police Department (NYPD)
 Disability Retirement Section Quality Assurance Assessment.

 1996 – 2001 Author and Principal Investigator of a Quantitative Domestic Violence
 Research Study in partial fulfillment of Doctor of Philosophy at Fordham University,
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 winning the Fordham University Langenfeld Research Award in 2002.




 PROFESSIONAL PRESENTATIONS / ACCOMPLISHMENTS


 Florida League of City Mayors Conference on Police Brutality 2016

 Disaster Ministry Sacred Journey Interfaith Seminary 2014- Present

 Disaster Ministry New Vision Interfaith Seminary 2013

 The Shepherd’s Bridge Ministries, workshop on mysticism and meditation – 2011

 Interfaith Temple of New York City, 2011 presentation on stress management.

 National Association of Social Workers, Florida Chapter. Presentation on Disaster Crisis
 Intervention 2010. Broward General Hospital.

 Women in Distress – Sociodrama Presentations on domestic violence 2006 – 2009.

 Philadelphia Department of Health, Aids Activities Coordinating Office- Transgender Health
 Conference. Developed and facilitated workshop for community leaders, activists, advocates
 and social service agency staff on sociodrama as a form of educational theater and its use as an
 invaluable and highly effective tool in anti-racism, anti-homophobia, and anti-transphobia
 training. March, 2004.

 National Association of Social Work Annual Conference: New Routes to Social Work
 Success Continuing Education Workshop. Developed and facilitated 6 hour continuing
 education workshop for social workers on sociodrama as a form of educational theater and its
 use as an invaluable and highly effective method in the education and training of social work
 staff about a variety of challenging topics including sexual assault, domestic violence, crisis
 intervention, conflict resolution, racism, sexism, and homophobia.. March, 2004

 Presented sociodrama workshop on Alcohol, depression and suicide with Sociodrama
 Ensemble (ESU students) for community members, faculty and students on campus. April
 2004.

 National Association of Social Work- Pennsylvania Chapter. Continuing Education Workshop.
 Presented continuing education workshop on Community Disasters and the Social Work
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 Response. January, 2004

 Presented sociodrama workshop on Domestic Violence with Sociodrama Ensemble (students)
 at Open House representing Sociology Department/East Stroudsburg University. November
 2003.

 Presented sociodrama workshop on Hate Crimes with Sociodrama Ensemble (ESU students) at
 Hawthorn Residence Hall open forum in response to hate crime on campus. November 2003.

 Conducted all day staff development and training workshop for RedCo/Families and Children
 Therapy (FACT), East Stroudsburg, PA on client and case worker issues, utilizing sociodrama
 techniques. October 2003.

 Expert witness for the New York City Corporation Counsel in the area of Mental Illness and
 Training of New York City Police Officers. Testified at City Council hearings on mental health,
 grand jury, Federal, and Civil trials. 1998 - October 2003


 Presented sociodrama workshop with John Jay College students at John Jay College of
 Criminal Justice on issues of voting registration, hate crimes, domestic violence, and
 substance abuse by youth. October - November 2003.

 Presented all day training workshop for Keyspan Corporation staff on crisis intervention,
 conflict resolution, and effective communication. March 2003.

 Presented sociodrama workshop on Alcohol Use and Abuse on Campus with
 Sociodrama Ensemble (ESU students) at Abeloff Convocation Center for Alcohol
 Awareness Committee forum. April 2003.

 Developed "white papers" curriculum for Cultural Diversity and the Police Grant Project
 (CDAP) on Cultural Competent Police Response to the Lesbian, Gay, Bisexual, and
 Transgender Communities. Model curriculum to be utilized by 5 major police departments

 NASW (New York Chapter) Continuing Education workshop on Social Work and Law
 Enforcment Collaboration. 2002.

 Keynote Speaker for Fordham University Graduate School of Social Service Symposium
 on Trauma: "Crisis Intervention and Mental Health Response for Families of the Victims of
 the WTC Attacks". 2001

 St. Peter's University Hospital University of Medicine and Dentistry of New Jersey: Seminar
 for Social Work Staff on Crisis Intervention and Theater Techniques, 2000.

 Developed, coordinated and presented various socio-drama presentations for New York Police
 Department Office of Equal Employment Opportunity on issues of Racism, Sexism,
 Homophobia, reasonable accommodation for religious observance and disability, and
 employment discrimination. 2000.
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 American OrthoPsychiatric Association Annual Meeting and Symposium on Race-
 Related Police Violence: Mental Health Approaches to Prevention and Intervention: Featured
 Speaker, 1999.

 Fordham University Graduate School of Social Service: Featured Speaker on Crisis
 Intervention Utilizing Theater Techniques. 1999

 Featured Guest on Discovery Channel Documentary on the New York City Police Academy
 Behavioral Science Training 1999.

 Featured Guest on ABC News Documentary on the New York City Police Academy
 Behavioral Science Training 1999.

 Featured in City Journal on the New York City Police Academy Behavioral Science Training
 1999.
 Catherine McCauley High School Mental Health Fair: Keynote Presentation - Interactive
 Socio-Drama on Issues of Oppression. 1998.

 Conference on Poverty and Disability: A Call to Action. Presented Interactive Soco-drama
 on Developmental Disabilities and Effective Police Response. 1998

 Developed socio-drama program for New York Police Department Counseling Unit on issues of
 Alcoholism. 1998.

 Ithaca Battered Women's Program/ Conference on Domestic Violence Presenter: Issues of
 Same-Sex Domestic Violence and Police Response. 1998.

 John Jay College of Criminal Justice Multi-cultural Conference: Presenter of Interactive
 Socio-Drama on Issues of Oppression. 1997.

 New York City Gay & Lesbian Anti-Violence Project Domestic Violence Conference:
 Panelist-Presented on Issues of Same-Sex Domestic Violence. 1996.

 National Gay and Lesbian Task Force Conference
 Workshop Facilitator/ Presented on Issues of Same-Sex Domestic Violence. 1996

 Development and Direction of the Training Film "Final Warning" A look at domestic violence
 when it is perpetrated by the police. 1997.

 Fordham University School of Law Role-Playing Law Clinic on issues of Domestic Violence.
 1996.

 Featured in New York Times on the New York City Police Academy Behavioral Science
 Training 1988.

 Development and Direction of the Training Video "What’s Right With The Job” A look at positive
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 aspects of policing. 1986




 SCHOLARLY PUBLICATIONS


Telesco, G. (2019) Never Forget, Sometimes Forgotten, Often Haunted: The Effects of
9/11 on First Responders 18 years Later. Journal of the American Academy of Experts in
Traumatic Stress. October Issue.

Telesco, G. (2017) Race, riots, and the police. Police Practice and Research, Book Review

Telesco, G.(2017). Legal guide for police: constitutional issues. Police Practice and
Research, Book Review. pp. 1–2

Telesco, G (2016). Police Practice and Research: An International Journal. Book Review
“The Ville” Greg Donaldson. Summer Publication.

Cusack, C. & Telesco, G., Nonconsensual Insemination: Intimate partner violence,
patriarchy, police education and policy, 4 J. L.& Soc. Deviance 271 (2012)

Telesco, G. (2011). Officers in Crisis. Journal of Police Crisis Negotiations. Volume 11 (1)
40 -56

Telesco, G. (2010). Treating Gambling Disorders: A Book Review. Journal of Teaching in
Social Work: Innovations in Education, Training, and Educational Practice. Scheduled for
publication Spring 2010.

Telesco,G. (2009) Case Studies on Sexual Orientation and Gender Expression in Social
Work Practice: A Book Review. Journal of Teaching in Social Work: Innovations in
Education, Training, and Educational Practice. Volume 29 (3) pp. 363 – 366.

Telesco, G. (2009). Group Work with Specific Populations. Police Officers. Encyclopedia of
Social Work with Groups. Taylor & Francis. pp. 226 -228.

Telesco, G. (2006). Using sociodrama for radical pedagogy: Methodology for education and change.
Radical Pedagogy. Volume 8 (2).
                                               11
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Telesco, G. (2005). Emergency Preparedness. The Encyclopedia of Federal Law Enforcement .Vol
3. SAGE Publications.

Telesco, G.& Piotrkowski, C. Coping, meaning, and threat appraisal as predictors of PTSD
symptoms among police officers assisting families of victims of the -world trade center attacks.

Telesco, G. (2004). A caregiver's reflection on September 11. In B. Collins & T. Collins (Eds.).
Crisis and trauma: Developmental-ecological intervention. NY: Lahaska Press. pp. 527-538.

Telesco, G. (2004). Sociodrama and structured improvisation: Methodology for education,
training, healing, and change. New York Adult Learning Journal.



SCHOLARLY PUBLICATIONS


Telesco, G. (2004). Sex role identity and jealousy as correlates of abusive behavior in lesbian
relationships, hi M. Sullivan (Ed.). Sexual minorities: Discrimination, challenges and development
in America. NY: Haworth Press. pp. 153-169

Telesco, G. (2004). Sex role identity and jealousy as correlates of abusive behavior in lesbian
relationships. Journal of Human Behavior in the Social Environment. Vol. 8 (2/3).pp. 153-169.

Patterson, G. & Telesco, G. (2004). Role of the first responders to mass violence. In L. Straussner
& N. Phillips (Eds.) Mass violence and social work practice. Allyn & Bacon. pp. 117-126.

Telesco, G. (2003). Sociodrama and structured improvisation: Methodology for education, training,
healing, and change. Paper presented at the International Conference on Sexual Assault and
Harassment on Campus. Orlando, Florida. October 2003.

Telesco, G. (2002).Rescue and recovery: Providing crisis intervention to the families of the victims
of the World Trade Center attack. Reflections. Volume 8, 3, 12-18.
Solomon, A. & Telesco, G. (2001). Theater of the recruits. Theater, 31 (3), 55-61.
Telesco, G. (2001). Sex role identity and relationship factors as correlates of abusive behavior
in lesbian relationships. Doctoral dissertation (University Microfilms (3016007).

Telesco, G. & Fox, R. (1998). Bringing a social service perspective to a police recruit curriculum.
Paper presented at American Orthopsychiatric Association Annual Meeting and Symposium on
Race-Related Police Violence: Mental Health Approaches to Prevention and Intervention.

Telesco, G. (1997). Sex role identity and its association to abuse in lesbian couples. Paper
presented at Fordham University School of Law Domestic Violence Conference, March, 2002.



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 AWARDS
                      Fordham University Langenfeld Research Award
                      New York Finest Foundation Doctoral Scholarship
                John Jay College of Criminal Justice Master of Arts Scholarship
                     Department of Justice Crime Victims Service Award




 AFFILIATIONS

                      American Academy of Experts in Traumatic Stress
                        American Association of University Professors
                             American Psychological Association
                                    American Red Cross
                       Disaster and Emergency Response Association
                                 National Sheriffs Association
                         International Association of Chiefs of Police




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